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                                                EXHIBITA
                                         LEGAL DESCRIPTION

I   l5 Montauk Hiohwav- Westhamnton          Beach- New York


    ALL that certain plot piece or parcel of land, situate, tying and being at Westhampton Beach,
    Town of Southampton, County of Suffolk and State of New York, bounded and described
    according to a survey dated April 8, 2005 made by Control Point Associates lnc. as follows:

    AEGlNltllNG at a point on the southerty side of Montauk Highway (State Road 27A) distant
    171-86 feet easterly ,rom the exlreme northeasterly end of an arc of a curve connecting lhe
    easterly side of oak street with the southerly side of Montauk Highway, said point also-being
    the northwesterly corner of land now or formerly of Richard N. Bulloss and Bruce w. Robertlon;

    RUNNING THENCE South 20 degrees 14 minutes 36 seconds West atong land now or
    formerly of Richard Bulloss and Bruce W. Robertson, 171.gg feet to a point;

    THENCE Sor.rth 20 degrees 18 minutes 24 seconds West, 25.g6 feet to a point;

    T_}1EN9F North 71 degrees 06 minutes 38 seconds       west, 167.70 feet to a point at rhe easterry
    side of Oak Street:

    THENCE North 10 degrees 45 minutes 44 seconds East, 17.1.1g feer to a concrete rnonument
    found;

    THFNCE]l     ? lortheasterty direction along the arc of a curve bearing to lhe right having a
    radius of 25.00 feet, an arc length of 42.94 teet,

    THEt{cE in an easterry direction arong the southerry side of Montauk Haghway, south
                                                                                        71
    degrees 00 minutes 21 seconds, a distance of 171.96 feet to the point oi prace of
                                                                                      BEGINNTNG.
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       191 Montauk Hiehwav. Hamoton Bavs. New           York

         ALL that certain plot piece or parcel of land, situate, lying and being at Hampton 8ays, Town of
          Southampton, County of Suffolk and Slate of New York, bounded and described as follows:

         BEGINNING at the comer formed by the inteGection of the easterly side of East Tiana Road
         with lhe southerly end of an arc connecting said easterly side of Easl Tiana Road with the
         southerly sile of Montauk Highwa[

         RUt{NlI'lG THEIiICE northerly and easlerly along a curve to the rllht having a radius of 20.0
         feet, dbtance of 37.65 feet

         RUIIN|II|G-THENCE aloflg the southerly s'nJe of Montauk Highuay Sourh 87 degrees 41
         minutes o0seconds East through monuments 132.ss feet t6 a point and lands -now or formerly
         of Berttp K}crer:

         IHE!gF 1or€ tre aforesaid.rands of Bertha Klorer south i4        degrees 02 minutes 40 seconds
         East 295.89 feet lo a poinl and lands of Long lsland Railroad;

         T,I1EN9-E So.,th 78 degrees 44 minutes 00 seconds west 145.00 feet
                                                                            to a point in the easterry
         side of East Tiana Road;

l        THENGE along East riana Road North ls degrees 32 minutes
                                                                         00 seconds wesr 306.60 feel
         (per survey) 304 feet (per tax map) to the comer aforesaid,
                                                                     the point or ptace of BEGINN|I{G.
        EXGEPTII{G as much as was raken by the To, of Southampton
                                                                  by sbeet Dedic€tbn dated
        1Cl/280 recorded 11/.t8/80 in Uber 8St6 page m.




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 607-611      &521 Lake Avenue, St. James. New York

    AS TO LOT 023.001 ,/k/a LOT 20. 21,22 AttO 23

    ALL that certain plot, piece or parcel of land, situate, lying and being at St. James, Town of
    Smithtown, County of Suffolk and State of New York, bounded and described as follows:

    BEGINNING at a poinl on the southerly side of Moriches Road, wtrich point is distant the
    following two (2) oourses and distances from the corner formed by the intersection of the old
    southerly side of Moriches Road and the easterly side of Lake Avenue;

    (1) Easterly as measured along the old southerly side of Moriches Road, 127.96 feet (128 feet,
        per tax map);
    (2) South 03 degrees 00 minutes 00 seconds West, 8.70 feet (8.701 feet survey) to the true
        point or place of beginning; and from said point of beginning:

   RUNNING THENCE along the new southerly side of Moriches Road, South 74 degrees 99
   minutes 10 seconds East, 51.19 feet (51.18 pe. survey) feet to land now or formerly of percy A.
   Land;

   RUNNING THENCE along said tand the foilowing two (2) courses and distances:

   1)   South 03 degrees OO minutes O0'seconds West, 184.(X feet;
   2)   North 87 degrees 00 minutes 0O seconds West, 50leet;

   RUNNING THEI{CE South 87 degrees 00 minutes East, a distance of 2s feet atong land now
   or formerly of John G. Mercep, formerly of percy A. Land;

   THENCE North 87 degrees 00 minutes 00 seconds Wesl, a distance of 125 feet along land
   now or formerly Patricia E. Mercep, formedy other lands of percy A. Land and Meta H. Land to
   the easterly boundary line of Lake Avenue;

   North 03 degrees 00 minutes 00 seconds East, 256.05 feet to the new southerly side of
   lvloriches Road at the point or place of BEGINNING.




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     AS TO LOT 024.000

    ALL that certain plot piece or parcel of land, situate, lying and being in St. James, Town of
    Smithtown, County of Suffolk and State of New York, bounded and described as follows:

    BEGINNING at a point on the easterly line of Lake Avenue, distant 25 feet northerly from the
    mrner formed by the intersection of the northeriy line of Maple Drive and the easterly line of
    Lake Avenue;


    RUNNING THENCE North 03 degrees oo minutes oo seconds East along the easterly line of
    Lake Avenue, 150.00 feet to land now or formerly of Elderkin;

    THENCE south 87 degrees 00 minutes 00 seconds west along the last mentioned land, 11s
    feet to the westerly line of land now or formerly of percy Land;

    THENGE south 03 degrees 00 minutes 00 seconds west along the last nEntioned land, 150
    feet to lhe northerly line of land now or formedy of Karl Kobel;

    THENCE North 87 degrees 00 minutes 00 seconds west along the last mentioned land, 12s
    feet to the easterly side of Lake Avenue at lhe point or place of BEGINNING.


    PERIMETER LEGAL DESCRIPTION


    +L   that ceftain plot piece or parcel of land, situate, lying and being in St. James, Torvn of
    smithtown, county of suffork   and state of New     york,'bounded andlescribed as io ows:
    BEGINNING at a point being the           formed by the intersection of the easterly side of Lake
    Avenue, and the southerly side of-corner
                                      Moriches Road;

    RUNNING THENCE South 74 degrees 39 minutes 10 seconds East, 127.96 feet;

   THENCE South 3 degrees 00 minules 0O seconds West, E.701 feet;

   THENCE South 74 degrees 39 minutes 0O seconds East, 51.18 feet
                                                                           i                          +*,r'
   THENCE South 03 degrees       OO   minutes 00 seconds West, .l g4.O4 feet;

   THE CE North 87 degrees 00 minules         0O seconds West, 50.00 feet;

   THEI{CE South 03 degrees O0 minutes        OO   seconds West, 175.00 feet;

   THEIIICE North 87 degrees 0O minutes 00 seconds West, 12S feet;

   THEtilcE North 3 degrees 0o minutes o0 secon* East, 406.05 feet              th'   point or prace of
                                                                   to
   BEGINNING.




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